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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-cr-225 (DLF)
               v.                             :
                                              :
TRENISS JEWELL EVANS, III,                    :
                                              :
                       Defendant.             :

                                     NOTICE OF FILING

       Pursuant to the Court’s January 18, 2022 Minute Order directing “the government (and the

defense, if it so chooses)” to provide relevant “video that shows the defendant’s actions on January

6, 2021,” on January 25, 2022, the government, in consultation with the defense, sent seven videos

via USAfx to the Court’s chambers and counsel for the defendant. These videos include CCTV

footage showing the defendant entering and exiting the Senate wing of the Capitol and walking

through the Crypt, bystander video capturing the defendant inside entering the Senate wing and

inside a Senate office, and certain video footage taken by the defendant while inside the Capitol.

As directed by the Court, the government will make these videos available to the public through

the “‘drop box’ technical solution” implemented in accordance with Standing Order 21-28.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
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